Case 18-53572-pmb      Doc 26     Filed 06/11/18 Entered 06/11/18 13:53:54           Desc
                                       Page 1 of 2




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


      IN RE:                                      { CHAPTER 13
                                                  {
      KENNETH G. COOK,                            {
                                                  { CASE NO. 18-53572-PMB
                                                  {
          DEBTOR,                                 {

               CHAPTER 13 TRUSTEE’S SUPPLEMENTAL OBJECTION TO
                  CONFIRMATION AND MOTION TO DISMISS

             COMES NOW MELISSA J. DAVEY, Chapter 13 Trustee, and objects to
      confirmation of the plan and files this motion to dismiss under 11 U.S.C. Section
      1307(c), for cause, including the following reasons:

         1. The Amended Chapter 13 Plan is ineffective and cannot be administered by the
            Chapter 13 Trustee because it fails to correctly identify the amended Plan
            sections (3.1) as required by NDGA Bankruptcy Court General Order 21-2017.

              WHEREFORE, the Trustee moves the Court to inquire into the above objections
      at the separately scheduled and notice confirmation hearing, deny confirmation of the
      Chapter 13 Plan, dismiss the case, and for such other and further relief that this Court
      deems just and proper.

      June 11, 2018.

                                                  /s/William A. Bozarth
                                                  William A. Bozarth, Attorney for
                                                  Chapter 13 Trustee
                                                  GA Bar No. 940530




      Melissa J. Davey, Chapter 13 Trustee
      Suite 200 – 260 Peachtree Street, N.W.
      Atlanta, Georgia 30303
      (678) 510-1444
Case 18-53572-pmb      Doc 26        Filed 06/11/18 Entered 06/11/18 13:53:54        Desc
                                          Page 2 of 2




      18-53572-PMB


                                  CERTIFICATE OF SERVICE


             This is to certify that I have this day served


      DEBTOR:

             Kenneth Gregory Cook
             5771 Southland Walk
             Stone Mountain, GA 30087

      ATTORNEY FOR DEBTOR:

             Slipakoff & Slomka, PC
             Overlook III - Suite 1700
             2859 Paces Ferry Rd, SE
             Atlanta, GA 30339

      the above in the foregoing matter with a copy of this pleading by depositing same in the
      United States Mail in a properly addressed envelope with adequate postage thereon.


      This 11th day of June, 2018.


      /s/William A. Bozarth
      William A. Bozarth, Attorney for
      Chapter 13 Trustee
      GA Bar No. 940530




      Melissa J. Davey, Chapter 13 Trustee
      Suite 200 – 260 Peachtree Street, N.W.
      Atlanta, Georgia 30303
      (678) 510-1444
